        Case 1:24-cr-00542-AS           Document 325         Filed 05/09/25       Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA,


                      -against-                                           24-CR-542 (AS)

    SEAN COMBS,                                                      OPINION AND ORDER
                                  Defendant.



ARUN SUBRAMANIAN, United States District Judge:

    Defendant Sean Combs has moved to dismiss counts three and five of the superseding
indictment, which charge him with violating 18 U.S.C. § 2421(a) by transporting Victim-1,
Victim-2, and commercial sex workers in interstate and foreign commerce with the intent that they
engage in prostitution. 1 Combs argues that these counts should be dismissed because they reflect
“a clear case of selective prosecution,” and that § 2421 “has been invidiously deployed against a
prominent black man.” Dkt. 153 at 2, 8. Combs’s motion is DENIED.
    The standard to make out a selective-prosecution claim is “a demanding one.” United States v.
Armstrong, 517 U.S. 456, 463 (1996). Federal prosecutors “retain broad discretion to enforce the
Nation’s criminal laws.” Id. at 464 (internal quotations omitted). “This broad discretion rests
largely on the recognition that the decision to prosecute is particularly ill-suited to judicial review.
. . . Judicial supervision in this area, moreover, entails systemic costs of particular concern.
Examining the basis of a prosecution delays the criminal proceeding, threatens to chill law
enforcement by subjecting the prosecutor’s motives and decisionmaking to outside inquiry, and
may undermine prosecutorial effectiveness by revealing the Government’s enforcement policy.”
Wayte v. United States, 470 U.S. 598, 607 (1985).
    “As a result, ‘[t]he presumption of regularity supports’ [federal prosecutors’ charging]
decisions and, ‘in the absence of clear evidence to the contrary, courts presume that they have
properly discharged their official duties.’” Armstrong, 517 U.S. at 464 (first alteration in original)
(quoting United States v. Chem. Found., Inc., 272 U.S. 1, 14–15 (1926)). Importantly, “[a]
selective-prosecution claim is not a defense on the merits to the criminal charge itself, but an
independent assertion that the prosecutor has brought the charge for reasons forbidden by the
Constitution.” Id. at 463.
   To establish a selective-prosecution claim, a defendant must demonstrate that the decision to
prosecute “had a discriminatory effect” and was “motivated by a discriminatory purpose.” Id. at

1
 The motion is directed to count three of the January 30, 2025 superseding indictment (S1), but the Court
understands it to apply to both counts three and five of the April 3, 2025 superseding indictment (S3).
        Case 1:24-cr-00542-AS         Document 325        Filed 05/09/25      Page 2 of 4



465 (quoting Wayte, 470 U.S. at 608); see also United States v. Alameh, 341 F.3d 167, 173 (2d
Cir. 2003); United States v. Fares, 978 F.2d 52, 59 (2d Cir. 1992); United States v. Moon, 718
F.2d 1210, 1229 (2d Cir. 1983). With respect to the first prong (i.e., discriminatory effect), a
defendant must establish that “others similarly situated have not generally been proceeded against
because of conduct of the type forming the basis of the charge against [the defendant]” and that
the defendant “has been singled out” in his case. Fares, 978 F.2d at 59 (alteration in original)
(quoting Moon, 718 F.2d at 1229). On the second prong (i.e., discriminatory purpose), a defendant
must establish that the Government’s “selection of [the defendant] for prosecution has been
invidious or in bad faith, i.e., based upon such impermissible considerations as race, religion, or
the desire to prevent his exercise of constitutional rights.” Id. (alteration in original) (quoting
Moon, 718 F.2d at 1229). So possessing a discriminatory purpose means more than just that the
Government acted with an “awareness of consequences.” Wayte, 470 U.S. at 610 (quoting Pers.
Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979)). Rather, the Government must have “selected
or reaffirmed a particular course of action at least in part because of, not merely in spite of, its
adverse effects upon an identifiable group.” Id. (internal quotation marks omitted) (quoting Pers.
Adm’r of Mass., 422 U.S. at 279). Where a defendant “has not shown that the Government
prosecuted him because of” his protected status or conduct, his claim fails. Id.
    Consistent with the presumption of regularity, the Supreme Court has explained that “the
showing necessary to obtain discovery” in support of a selective-prosecution claim “should itself
be a significant barrier to the litigation of insubstantial claims.” Armstrong, 517 U.S. at 464. A
defendant must meet a “rigorous standard for discovery in aid of such a claim” because discovery
“imposes many of the costs present when the Government must respond to a prima facie case of
selective prosecution.” Id. at 468. To obtain discovery, a defendant accordingly first “must show
some evidence of both discriminatory effect and discriminatory intent.” United States v. Bass, 536
U.S. 862, 863 (2002) (per curiam); see also Fares, 978 F.2d at 59 (same). “Mere assertions and
generalized proffers on information and belief are insufficient” to meet this burden. Fares, 978
F.2d at 59.
    Combs doesn’t have evidence of either discriminatory effect or discriminatory intent based on
his race. On discriminatory effect: Combs offers up several examples of prominent individuals
whom Combs believes may have violated § 2421 and were not prosecuted. Combs says race is the
reason he was prosecuted, and they were not. The Government responds by pointing out that these
individuals aren’t similarly situated to Combs given the sex-trafficking allegations against him;
the broader pattern of alleged racketeering activity by Combs; that Combs allegedly transported
victims, and not just commercial sex workers, across state lines; and the lack of proof that Combs’s
exemplars committed acts meeting all the elements of the statute. See United States v. Smith, 231
F.3d 800, 810 (11th Cir. 2000) (“[A] ‘similarly situated’ person for selective prosecution purposes”
must have “committed the same basic crime in substantially the same manner as the defendant—
so that any prosecution of that individual would have the same deterrence value and would be
related in the same way to the Government’s enforcement priorities and enforcement plan.”). The
Government also points to numerous cases in the Southern District of New York where individuals

                                                 2
        Case 1:24-cr-00542-AS          Document 325         Filed 05/09/25      Page 3 of 4



of other races (and genders) were prosecuted for § 2421 violations where there were also
allegations of sex-trafficking or other aggravating conduct, including Peter Nygard, Ghislaine
Maxwell, Efrain Granados-Corona, Isaac Lomeli-Rivera, and Juan Romero-Granados. See Dkt.
166 at 9–10.
    On reply, Combs accuses the Government of whipsawing him. He points to the Government’s
opposition to his motion to suppress, which insists that violence isn’t a necessary aspect of a §
2421 violation. But this misses the point. For purposes of a selective-prosecution claim, the way a
defendant and a proposed comparator committed their respective crimes plays a role in whether
they’re similarly situated. See Smith, 231 F.3d at 811–13; see also United States v. Sutcliffe, 505
F.3d 944, 954 (9th Cir. 2007). Simply committing the same basic offense isn’t enough. See United
States v. Lewis, 517 F.3d 20, 26–27 (1st Cir. 2008). In short, the Government says that when taking
a full view of what is alleged in the indictment and the nature of the alleged conduct, there is no
basis to say that Combs was singled out “because of” his race. Wayte, 470 U.S. at 610. It’s the
severity of what Combs allegedly did—not his race—that mattered.
    That would be sufficient to deny the motion, but Combs also doesn’t have any evidence of
discriminatory intent. Instead, what he marshals is an assortment of “mere assertions” that race
played a role in this case. Fares, 978 F.2d at 59. Combs gestures to the Government’s press
releases, the way search warrants of his homes were executed, that he wasn’t allowed to self-
surrender, and alleged press leaks. He says these establish that the Government “has gone out of
its way to humiliate [him].” Dkt. 153 at 7. However, Combs doesn’t point to any evidence that
racial bias played a role in the Government’s actions, that the prosecution team was responsible
for any leaks to the press, or that the way Combs’s homes were searched bespeaks a discriminatory
purpose. For its part, the Government argues that its press releases and refusal to allow Combs to
self-surrender were in keeping with how it has handled cases involving non-Black defendants. See
Dkt. 166 at 12–13.
     Combs devotes the bulk of his attention to the origins of § 2421, which he says was enacted in
1910 to “target … black male sexuality.” Dkt. 153 at 3–4, 8. But whatever the troubling history of
§ 2421, its present-day enforcement appears on its face race-neutral in this district, reaching across
race and gender. As far as selective prosecution is concerned, § 2421’s current application is what
is at issue; any argument concerning the statute’s roots must make a sufficiently strong connection
to what is happening in prosecutors’ offices today. Combs’s history lesson ignores what Armstrong
requires: evidence about the Government’s motives in his own prosecution.




                                                  3
        Case 1:24-cr-00542-AS        Document 325        Filed 05/09/25      Page 4 of 4



    Having failed to “show some evidence of both discriminatory effect and discriminatory intent,”
see Bass, 536 U.S. at 863, further discovery on these issues is unwarranted. The motion to dismiss
is denied.
   SO ORDERED.


Dated: May 9, 2025
       New York, New York



                                                               ARUN SUBRAMANIAN
                                                               United States District Judge




                                                4
